




PER CURIAM HEADING




		NO. 12-03-00336-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS



NORMAN COWPERTHWAIT, III§
	APPEAL FROM THE 

APPELLANT

V.§
	COUNTY COURT AT LAW OF


THE STATE OF TEXAS AND

VANESSA L. JONES,

APPELLEES§
	CHEROKEE COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for failure to comply with the Texas Rules of Appellate
Procedure.  Tex. R. App. P. 42.3.  Pursuant to Rule 32.1, Appellant's docketing statement was due
to have been filed at the time the appeal was perfected, i.e., July 21, 2003.  See Tex. R. App. P. 32.1. 
On October 15, 2003, this court notified Appellant that he should file a docketing statement
immediately if he had not already done so.  However, Appellant failed to file a docketing statement.

	On October 30, 2003, this court issued a second notice advising Appellant that the docketing
statement was past due and giving him until November 10, 2003 to comply with Rule 32.1.  The
notice further provided that failure to comply with this second notice would result in the appeal being
presented for dismissal in accordance with Rule 42.3.  The time for filing the docketing statement
under this second notice has expired, and Appellant has not filed the docketing statement as required
by Rule 32.1and the Court's notices.  

	Because Appellant has failed, after notice, to comply with Rule 32.1, the appeal is dismissed.
Tex. R. App. P. 42.3(c).

Opinion delivered November 13, 2003.

Panel consisted of Worthen, C.J., Griffith, J., and DeVasto, J.


(PUBLISH)


